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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                 Filed: April 14, 2021




Ms. Kinikia D. Essix
Eastern District of Michigan at Detroit
231 W. Lafayette Boulevard
Fifth Floor Theodore Levin U.S. Courthouse
Detroit, MI 48226-0000

                     Re: Case No. 19-1867, Leslie Nolan v. Detroit Edison Company, et al
                         Originating Case No. : 2:18-cv-13359

Dear Ms. Essix,

   Enclosed is a copy of the mandate filed in this case.

                                                 Sincerely yours,

                                                 s/Zachary Love
                                                 For Anthony Milton
                                                 Case Manager

cc: Mr. Mark Bruce Blocker
    Ms. Eva T. Cantarella
    Mr. Robert P. Geller
    Mr. Christopher Kenneth Meyer
    Ms. Antoinette S. Porter
    Ms. Patricia A. Stamler

Enclosure
            Case: 19-1867 Document:
Case 2:18-cv-13359-DML-SDD  ECF No. 28   Filed: 04/14/2021
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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 19-1867
                                           ________________

                                                                      Filed: April 14, 2021

LESLIE D. NOLAN

                Plaintiff - Appellant

v.

DETROIT EDISON COMPANY; DTE ENERGY CORPORATE SERVICES, LLC; DTE
ENERGY COMPANY RETIREMENT PLAN; DTE ENERGY BENEFIT PLAN
ADMINISTRATION COMMITTEE; JANET POSLER; QUALIFIED PLAN APPEALS
COMMITTEE; MICHAEL S. COOPER; RENEE MORAN; JEROME HOOPER

                Defendants - Appellees



                                            MANDATE

     Pursuant to the court's disposition that was filed 03/23/2021 the mandate for this case hereby

issues today.



COSTS: None
